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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA

                            Case No. lO-CV-80737-HURLEYIHOPKINS
        (Consolidated with Case No. lO-CV-80738-HURLEYIHOPKINS for the Receivership)

   UNITED STATES SECURITIES AND
   EXCHANGE COMMISSION,
   Plaintiff,

   v.

   TRADE-LLC, et aI.,
   Defendants,

   v.

   BD LLC, et aI.,
   Relief Defendants.
   _______________________________1

   COMMODITY FUTURES TRADING
   COMMISSION,
   Plaintiff,

              v.

   TRADE-LLC, et aI.,
   Defendants,

   BD LLC, et aI.,
   Relief Defendants.
   ----------------------------------~/
                                                    NOTICE OF FILING

              Jeffrey C. Schneider, not individually, but solely in his capacity as the court-appointed

   receiver (the "Receiver") for Trade-LLC, BD LLC, TWTT-LLC, CMJ Capital LLC, and Center

   Richmond LLC, hereby files the attached Seventh Report of Receiver dated August 23,2012.




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   Dated: August 23,2012                                  Respectfully submitted,

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                                                           By: s:lPatrick J. Rengstl
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                                                               FL BarNo. 0581631

                                          CERTIFICATE OF SERVICE

           I hereby certify that on August 23, 2012, I electronically filed the foregoing document

   with the Clerk of the Court using CMlECF. I also certify that the foregoing document is being

   served this day on all counsel of record or pro se parties identified on the attached Service List in

   the manner specified, either via transmission of Notices of Electronic Filing generated by

   CMIECF or in some other authorized manner for those counselor parties who are not authorized

   to receive electronically Notices of Electronic Filing.


                                                                    s:/Patrick J. Rengstl
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                            Case No. lO-CV-80737-HURLEY/HOPKINS
        (Consolidated with Case No.lO-CV-80738-HURLEY/HOPKINS for the Receivership)

   UNITED STATES SECURITIES AND
   EXCHANGE COMMISSION,
   Plaintiff,

   v.

   TRADE-LLC, et aI.,
   Defendants,

   v.

   BD LLC, et aI.,
   Relief Defendants.
   ----------------------------~/
   COMMODITY FUTURES TRADING
   COMMISSION,
   Plaintiff,

           v.

   TRADE-LLC, et aI.,
   Defendants,

   BD LLC, et aI.,
   Relief Defendants.
   ----------------------------~/
                SEVENTH REPORT OF RECEIVER JEFFREY C. SCHNEIDER

           Jeffrey C. Schneider, not individually, but solely in his capacity as receiver (the

   "Receiver") for Trade-LLC, BD LLC, TWTT-LLC, CMJ Capital LLC, and Center Richmond

   LLC (collectively, the "Receivership Entities" or "Trade"), l submits this Seventh Report.



   1  The Commodity Futures Trading Commission (the "CFTC") enforcement action (Case No.
   9:10-CV-80738) has been transferred to this Court and its receivership proceeding has been
   consolidated.
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        I.      General Overview

             I am pleased to advise this Court that I recently moved for authority to make my second

   and final distribution in the amount of $1,783,000 [DE 173], which will allow me to close the

   receivership in the next few months. The final distribution will be approximately 9% of investor

   losses. The first distribution was approximately 25% of investor losses. 2 Therefore, I will be

   returning approximately 34% in total to investors in this receivership in approximately two years.

   The motion for final distribution also resolved other claim issues, such as the claimants with late

   claims. The motion for final distribution is further described below.

             I have also settled the final receivership lawsuit - i. e., the Silent Standby case - in which

   the estate will receive $50,000 and two judgments against Silent Standby totaling $200,000.

   Similarly, I have continued to receive settlement checks on a monthly basis from prior Court-

   approved settlements.

             In the next two to three months, I plan to: (1) issue the distribution checks, as permitted

   in the motion for final distribution; (2) issue 1099's to investors; (3) prepare and file tax returns

   for the Receivership Entities; and (4) complete certain miscellaneous receivership work to wind-

   down the case.

             I continue to update investors on the receivership website (www.tradereceiver.com) by

   posting letters to investors when appropriate. I also continue to post relevant filings from the

   enforcement and ancillary receivership lawsuits on the website.

             The purpose of this Report is to more specifically advise this Court and other interested

   parties as to the material actions that I have taken since my last Report dated March 26, 2012,

   which, among other things, include:



   2   My first distribution was in the amount of $5.5 million and made in November 2011 [DE 136].


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             •   Distributions

             •   Marshaling of the Receivership Entities' assets

             •   Filing lawsuits against third parties who received the fruits of the fraud

             I am hopeful, if all goes as planned, to close the receivership in the next two to three

   months.

       II.       Distributions

             A. The Final Distribution

             I have moved for Court-approval to make a final distribution of $1,783,000, which

   represents approximately a 9% distribution. I plan to keep a reserve of $40,000 to cover the

   expenses of issuing 1099's, filing tax returns, enforcing outstanding settlements, and winding-

   down the estate. 3

             I previously filed a motion delineating the distribution procedures [DE 130], which this

   Court approved [DE 133]. Below is a summary of the Court-approved procedures.

             I was authorized to make distributions on a pro-rata basis based on the investor's or

   creditor's proportionate share of the total amounts invested by or owed to all investors and

   creditors in Trade.      The claim amount for each investor was a net claim amount, which

   represents all amounts invested by that investor subtracted by all amounts received by that

   investor (pre-receivership or post-receivership).

             At the same time, I determined the total dollar amount of all investments into, and other

   claims against, Trade (the "Investment Claim Total"). For purposes of the final distribution, the

   Investment Claim Total is $20,248,773.88. It is a different amount than the Investment Claim


   3  Depending on judgments I am holding, it is possible that I will collect additional amounts in
   the future and move to reopen the case to make another distribution. Unfortunately, however, I
   do not hold out much hope that the judgments are collectible. The details of those judgments
   will be discussed in my Final Report.


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   Total associated with the first distribution (which was $22,333,684.84), because: (1) the

   "disallowed claims" have been removed (which has reduced the number); (2) certain claimants

   with claims to which I objected agreed with my proposed claim amount (which has, in most

   instances, reduced the number); and (3) the late claims have been included (which has increased

   the number). Like the first distribution, I have determined a percentage that corresponds to each

   investor's (or creditor's) share of the Investment Claim Total (the "Investment Claim

   Percentage,,).4

          Like the first distribution, each "allowed" claimant has received and/or will receive a

   fixed percentage of hislher "allowed claim" from the proposed distribution amount, based on the

   following formula: the amount of the net "allowed claim" divided by the total amount of filed

   claims multiplied by the proposed distribution amount.

           B. Late Claims

           I received several claims after filing the motion for first distribution. I designated these

   as "late claims." In total, I received 10 late claims, which I have since analyzed. The claims

   procedure permitted me to address late claims on a case-by-case basis.

           I reached an agreement with the majority of late claimants on hislher respective claim

   amount, which is reflected in the Late Claim Matrix attached as Exhibit C to the motion for final

   distribution. All but two late claimants have "allowed claims"; the other two have claims to

   which I objected. I requested that this Court rule on, and sustain, my two objections after the

   briefing of the motion for final distribution is complete.

           I am able to issue distribution checks - as part of the first distribution - to the late



   4 For example, if the Investment Claim Total was $50 million, and John Smith invested $5
   million, then John Smith's Investment Claim Percentage would be 10% of the Investment Claim
   Total.


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   claimants with "allowed claims," because there is enough in reserve from the "disallowed

   claims" from the first distribution. For example, the previously-requested claim amounts for

   "disallowed claims" total $1,004,380.19, so that amount is now left over to pay the late claimants

   with "allowed claims" (there is $207,580.21 in "allowed" late claims and $175,000.00 in

   disputed late claims to which I have objected). This surplus has permitted me to move for

   authority to make a "catch-up" first distribution to those late claimants with "allowed claims"

   pursuant to the formula from the first distribution. As such, no claims have been rejected

   because they were late.

             C. Disallowed Claims

             If I objected to paying a claim in the first distribution and that claimant did not respond to

   my objection, the objection was deemed sustained and the claim denied. These claims were

   called "disallowed claims." As part of the motion for final distribution, I requested that this

   Court formally disallow those claims in a Court Order. The "disallowed claims" were listed in

   the Disallowed Matrix attached as Exhibit B to the motion for final distribution.

      III.      Marshaling of the Receivership Entities' Assets

             As stated previously, the various receivership Orders in the SEC and the CFTC actions

   grant me title to receivership assets by operation of law and, therefore, entitle me to the

   immediate turnover of receivership assets wherever located. These receivership assets have been

   and will ultimately be liquidated for the benefit of the hundreds of defrauded investors who will

   be repaid through the distribution process described above.

             A. The Properties

             Defendant William Center ("Center") used at least $210,000 of investor funds to renovate

   his home in Richmond, Virginia. As a result, I filed and recorded a lis pendens in Virginia on




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   Center's home so that it could not be sold or further encumbered. There is a mortgage on the

   property, as well as a tax lien.

           I retained an appraiser to inspect and perform an appraisal of the home to determine if

   there is any equity in the home. Center ultimately made himself available for the inspection and

   appraisal.   Since my last Report, I have received the appraisal report. I am still evaluating

   whether there is sufficient equity in the home to justify turnover to, and sale by, me.

           In addition to using investor funds to renovate his home, Center also used at least

   $92,000 in investor funds to re-furnish his home. I obtained a list of items that Center purchased

   from the interior design company to determine what furniture and furnishings may be subject to

   turnover and liquidation. I am still evaluating those issues.

           B. Furniture, Fixtures, and Equipment

           There is at least one remaining piece of artwork, jewelry, some "Trade" signage, and a

   generator system from the 19 Blenheim property. Assuming they still have value that justifies

   the effort, they will be sold or auctioned in the near future. The jewelry consists of a watch

   secured from the settlement with insider Charles Reeves (I filed a motion to liquidate this item,

   which this Court granted [DE 156 and 158]). Any items that have insufficient value to justify

   sales efforts will be abandoned or given to charity.

           C. Bank and Brokerage Accounts

           I previously obtained frozen balances in various accounts, the largest balances of which

   ranged from approximately $113,000 to approximately $50,000.

           D. Personal Items

           Milton and the Centers (William and Gregory) signed a Stipulation with me in which

   they agreed to list - in a formal sworn accounting - all of their personal items, whether




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    purchased with Trade-derived funds or not, and to produce documents substantiating the

    information. The Stipulation corrected the provision in the receivership Orders issued in the

    CFTC action that required me to take possession of literally every item owned by or purchased

    by the Defendants. This Court entered an Order approving the Stipulation [DE 39]. Milton and

    the Centers have provided the Court-ordered sworn accountings to me, which I have evaluated.

    The accountings have raised questions which require further investigation. I expect to resolve

    these issues with Milton and the Centers in the near future.

       IV.      Filing Lawsuits against Third Parties Who Received the Fruits of the Fraud

             As of my last Report, there was only one remaining lawsuit pending against a target that

    improperly received hundreds of thousands of dollars from Trade. The lawsuit is Jeffrey C.

    Schneider, Receiver v. Silent Standby Power Supply LLC, Franklin Freedman, and Siri Salmi,

    Case No. 11-80977. I recently settled that lawsuit and have moved for Court-approval [DE 33],

    which this Court granted [DE 34]. As stated above, pursuant to that settlement, the estate will

    receive $50,000 and two judgments against Silent Standby totaling $200,000.

             I also moved - under seal- for a break order against Timothy O'Connor, who in April

    2012 admitted to committing perjury at his deposition and lying to me (and Federal authorities)

    about receiving cash (literally) on the back-end of the T & D transaction. In my opinion, the

    most probable reason for O'Connor to lie about the cash was because O'Connor likely still had

    some or all of the cash. This Court granted the motion and issued a Sealed Order Granting Ex

    Parte Motion for Break Order in Aid of Execution (the "Break Order") against O'Connor.

             On the morning of June 27, 2012, several United States Marshals officers, my counsel

    and I executed the Break Order and entered O'Connor's rental home to search for the cash that

    he had received from the Trade Ponzi scheme. (A witness advised me that O'Connor received




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    $165,000 in cash. O'Connor denied receiving any cash, both under oath and during several

    meetings with me and the authorities. O'Connor later admitted to receiving $39,000 in cash).

             The Marshals officers entered the property from the back door, which had, surprisingly,

    been left unlocked. Therefore, the Marshals officers did not need to break down any doors to

    gain access to the property. The officers immediately searched the premises to confirm whether

    anybody was present. After confirming that no one was present, the Marshals officers opened

    the front door for me and my counsel to gain access to the property. My counsel and I then

    searched the entire home, backyard, and shed for several hours. Unfortunately, we did not locate

    the cash at the property.

             Although I did not locate the cash, I did locate assets which 0' Connor had failed to

    disclose to me and/or had lied about to me. In fact, these discoveries were shocking to me

    because O'Connor had always stated that he did not have anything of value and did not have any

    money to purchase anything of value. I, however, located a 100th anniversary Harley Davidson

    motorcycle in the driveway of the property. The motorcycle was registered to O'Connor in April

    2012. Curiously, I met with O'Connor in April 2012, during which O'Connor was, again, asked

    if he had anything of value. The answer, again, was that he did not. In addition, I located new

    computer equipment (including lap tops), entertainment equipment (including an iPod), luggage,

    bicycles, and several paddleboards.

             I have also continued to receive settlements payments from other prior targets, such as

    Jason Zamperini, RoadSafe (which acquired T &D), and David and Konstantina Casazza.

        V.      Miscellaneous Issues

             A.J. Watson, the apparent mastermind behind Cash Flow Financial, previously pled

    guilty to one count of wire fraud in the criminal case against him. That case is pending in




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   Federal Court in Virginia. Mr. Watson's sentencing hearing was May 23, 2012, and the Court

   sentenced Mr. Watson to 12 years in prison.

       VI.      Conclusion

             I estimate that the receivership will conclude, and I will move to close the receivership,

   by the Fall of this year, which is when I am expected to receive a settlement payment from the

    final receivership lawsuit (i. e., the Silent Standby case) and to conclude miscellaneous

   receivership issues (i. e., issuing distribution checks as permitted in the motion for final

    distribution, issuing 1099' s to investors, and preparing and filing tax returns).

             I look forward to continuing to carry out my Court-obligated duties at the highest level

    possible for the benefit of the victims of this unfortunate fraud.




             Dated: AugustCl?? 2012


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